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 9                      UNITED STATES DISTRICT COURT

10                    SOUTHERN DISTRICT OF CALIFORNIA

11
      ANDREW FLORES, et al.,                       Case No. 20-cv-656-BAS-MDD
12
                                   Plaintiffs,     ORDER DENYING MOTION
13                                                 FOR TEMPORARY
                                                   RESTRAINING ORDER
14           v.
                                                   [ECF Nos. 2]
15    GINA M. AUSTIN, et al.,

16                               Defendants.

17
18         Plaintiffs Andrew Flores, Amy Sherlock, and Jane Doe filed a 173-page
19   complaint against 38 defendants. (ECF No. 1.) They allege civil rights violations
20   under 42 U.S.C. § 1983, make a “neglect to perform wrongful act” cause of action,
21   and seek various forms of declaratory relief. The complaint is almost impossible to
22   summarize due to its length and confusing nature.
23         Plaintiffs also filed a motion for temporary restraining order (“TRO”). (ECF
24   No. 2-1.) Plaintiffs seek six forms of relief in the motion, including requests for
25   orders to show cause, sanctions, and orders compelling various Defendants’
26   appearances. The motion contains no support behind these latter requests; thus, the
27   Court only analyzes the motion for temporary restraining order. Plaintiffs seek a
28   TRO on their declaratory relief cause of action—that the judgment in Larry Geraci

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 1   v. Darryl Cotton, San Diego County Superior Court, Case No. 37-2017- 00010073-
 2   CU-BC-CTL (what Plaintiffs call “Cotton I”) is void “pursuant to the equitable
 3   doctrine of a fraud on the court.” (ECF No. 2-1, at 18.)
 4         Pursuant to Federal Rule of Civil Procedure 65, the court may issue a
 5   temporary restraining order without written or oral notice to the adverse party or its
 6   attorney only if: “specific facts in an affidavit or a verified complaint clearly show
 7   that immediate and irreparable injury, loss, or damage will result to the movant
 8   before the adverse party can be heard in opposition;” and “the movant’s attorney
 9   certifies in writing any efforts made to give notice and the reasons why it should not
10   be required.” Fed. R. Civ. P. 65(b). Plaintiffs have not provided any Defendant
11   notice of the motion for TRO, and the Rule 65(b) requirements have not been met.
12   Instead, Plaintiffs claim in their notice of motion that “the granting of this
13   Application without notice to defendants is appropriate in order to not allow
14   [Defendant Aaron] Magagna time to consummate the sale of the District Four CUP
15   or to allow defendants time to threaten, coerce or intimidate [Defendant Corina]
16   Young from providing her testimony or into committing perjury.” (ECF No. 2, at 3.)
17   This reasoning is unclear, and in any event, these are not specific facts made in an
18   affidavit, nor has Plaintiffs’ attorney (who is Flores) certified in writing why notice
19   should not be required. Thus, the Court DENIES the Motion for Temporary
20   Restraining Order without prejudice. (ECF No. 2.)
21         IT IS SO ORDERED.
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23   DATED: April 20, 2020
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